                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

CONSTRUCTION INDUSTRY LABORERS                          )
PENSION FUND, et al.                                    )
                                                        )
                                      Plaintiffs,       )
       VS.                                              )
                                                        )     Case No. 4:19cv-00276-FJG
LAN-TEL COMMUNICATIONS                                  )
SERVICES, INC.,                                         )
                                                        )
                                      Defendant.        )
                                                        )

   DEFENDANTS’ MOTION FOR AN EXTENSION OF TO ANSWER PLAINTIFFS’
                           COMPLAINT


       COMES NOW Defendant Lan-Tel Communications Services, Inc., by and through their

attorney of record, Eric Roby, and respectfully requests that this Court grant them an extension of

time, up to and including May 16, 2019, to respond to Plaintiffs’ Complaint. Suggestions in

support of this Motion are set forth below:

       1.      Counsel for Defendant has been out of the office and requires additional time to file

responsive pleadings to Plaintiffs’ Complaint.

       2.      Defendant respectfully request that it be granted an extension up to and including

May 16, 2019 to file its response to Plaintiffs’ Complaint.

       WHEREFORE, Defendant prays that this Court grant him an extension of time, up to and

including May 16, 2019, to file its responsive pleadings to Plaintiffs’ Complaint and for any other

relief the Court deems just and proper.




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            Case 4:19-cv-00276-FJG Document 4 Filed 05/02/19 Page 1 of 2
                                              MCELLIGOTT EWAN & HALL
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                                              ___________________________________
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                                              Eric.Roby@mehkpclaw.com
                                              ATTORNEY FOR DEFENDANTS



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 2nd day of May, 2019, a copy of the above and foregoing was

served via the Courts Electronic Notification system to all parties of record:




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          Case 4:19-cv-00276-FJG Document 4 Filed 05/02/19 Page 2 of 2
